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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF VERMONT


    LOUISIANA MUNICIPAL POLICE
    EMPLOYEES' RETIREMENT SYSTEM,
    SJUNDE AP-FONDEN, BOARD OF TRUSTEES
    OF THE CITY OF FORT LAUDERDALE
    GENERAL EMPLOYEES' RETIREMENT
    SYSTEM, EMPLOYEES' RETIREMENT                             No. 2:11-CV-00289-WKS
    SYSTEM OF THE GOVERNMENT OF THE
    VIRGIN ISLANDS, AND PUBLIC EMPLOYEES'
    RETIREMENT SYSTEM OF MISSISSIPPI
    on behalf of.themselves and all others similarly
    situated,

                        Plaintiffs,

                v.
    GREEN MOUNTAIN COFFEE ROASTERS,
    INC., LAWRENCE J. BLANFORD and
    FRANCES G. RATHKE,

                        Defendants.

\
      NOTICE OF (I) PENDENCY OF CLASS ACTION AND CLASS CERTIFICATION;
    (II) PROPOSED SETTLEMENT; (III) MOTION FOR AN AWARD OF ATTORNEYS'
            FEES AND REIMBURSEMENT OF LITIGATION EXPENSES; AND
                       (IV) SETTLEMENT FAIRNESS HEARING

                                               AND

                          PROOF OF CLAIM AND RELEASE FORM




         A Federal Court authorized this notice. This is not a solicitation from a lawyer.



                                 Please read this notice carefully.
                     Your rights may be affected by the proposed Settlement.
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                                                  UNITED STATES DISTRICT COURT
                                                      DISTRICT OF VERMONT


    LOUISIANA MUNICIPAL POLICE
    EMPLOYEES' RETIREMENT SYSTEM,
    SJUNDE AP-FONDEN, BOARD OF TRUSTEES OF
    THE CITY OF FORT LAUDERDALE GENERAL
    EMPLOYEES' RETIREMENT SYSTEM,
    EMPLOYEES' RETIREMENT                                                                  No. 2:11-CV-00289-WKS
    SYSTEM OF THE GOVERNMENT OF THE VIRGIN
    ISLANDS, AND PUBLIC EMPLOYEES'
    RETIREMENT SYSTEM OF MISSISSIPPI
    on behalf of themselves and all others similarly situated,

                                         Plaintiffs,

                             V.


    GREEN MOUNTAIN COFFEE ROASTERS,
    INC., LAWRENCE J. BLANFORD and
    FRANCES G. RATHKE,
                                        Defendants.



                           NOTICE OF (I) PENDENCY OF CLASS ACTION AND CLASS CERTIFICATION;
                          (II) PROPOSED SETTLEMENT; (III) MOTION FOR AN AWARD OF ATTORNEYS'
                                  FEES AND REIMBURSEMENT OF LITIGATION EXPENSES; AND
                                            (IV) SETTLEMENT FAIRNESS HEARING
                              A Federal Court authorized this Notice. This is not a solicitation from a lawyer.
    NOTICE OF PENDENCY OF CLASS ACTION: Please be advised that your rights may be affected by the
    above-captioned securities class action (the ''Action") pending in the United States District Court for the District
    of Vermont (the "Court"), if, during the period between February 2, 2011 and November 9, 2011, inclusive (the
    "Class Period"), you purchased or otherwise acquired Green Mountain Coffee Roasters, Inc. common stock and
    were damaged thereby. 1
    NOTICE OF SETTLEMENT: Please also be advised that the Court-appointed Lead Plaintiffs and Class
    Representatives, Louisiana Municipal Police Employees' Retirement System, Sjunde AP-Fonden, Board of Trustees
    of the City of Fort Lauderdale General Employees' Retirement System, Employees' Retirement System of the
    Government of the Virgin Islands, and Public Employees' Retirement System of Mississippi (collectively, the "Class
    Representatives"), on behalf of themselves and the Class (as defined in ,r 24 below), have reached a proposed settlement
    of the Action for $36,500,000 in cash that, if approved, will resolve all claims in the Action (the "Settlement").
    PLEASE READ THIS NOTICE CAREFULLY. This Notice explains important rights you may have, including
    the possible receipt of cash from the Settlement. If you are a member of the Class, your legal rights will be
    affected whether or not you act.
    If you have any questions about this Notice, the proposed Settlement, or your eligibility to participate in the
    Settlement, please DO NOT contact Defendants in the Action or their counsel. All questions should be directed
    to Class Counsel or the Claims Administrator (see ,r 85 below).




    1
      All capitalized terms used in this Notice that are not otherwise defined herein shall have the meanings ascribed to them in the Stipulation
    and Agreement of Settlement dated June 18, 2018 (the "Stipulation"), which is available at www.GreenMountainSecuritiesLitigation.com.
                                    QUESTIONS? Visit www.GreenMountainSecuritiesLitigation.com or
v1ag1   v.os 01.1?.201a                            Call Toll-Free 1-888-836-0903
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      1.     Description of the Action and the Class: This Notice relates to a proposed Settlement o~ claims in a pendi~g
    securities class action brought by investors alleging, among other things, that defendants Keung Green Mountam,
    Inc. ("Keurig Green Mountain"), formerly known as Green Mountain Coffee Roasters, Inc. ("Green Mountain" or the
                                                                                                                          2
    "Company"), Lawrence J. Blanford ("Blanford"), and Frances G. Rathke ("Rathke") (collectively, the "De~endants")
    violated the federal securities laws by making false and misleading statements regarding Green Mountam. A more
    detailed description of the Action is set forth in ,i,i 11-23 below. The proposed Settlement, if approved by the Court,
    will settle claims of the Class, as defined in ,i 24 below.
      2.     Statement of the Class's Recovery: Subject to Court approval, Class Representatives, on behalf of
    themselves and the Class, have agreed to settle the Action in exchange for a settlement payment of $36,500,000 in
    cash (the "Settlement Amount") to be deposited into an escrow account. The Net Settlement Fund (i.e., the Settlement
    Amount plus any and all interest earned thereon (the "Settlement Fund") less (i) any Taxes and Tax Expenses;
    (ii) any Notice and Administration Costs; (iii) any Litigation Expenses awarded by the Court; (iv) any attorneys' fees
    awarded by the Court; and (v) any other costs or fees approved by the Court) will be distributed in accordance with a
    plan of allocation that is approved by the Court, which will determine how the Net Settlement Fund_ shall be allocated
    among members of the Class. The proposed plan of allocation (the "Plan of Allocation") is set forth m ,i,i 50-69 below.
      3.    Estimate of Average Amount of Recovery Per Share: Based on Class Representatives' damages expert's
    estimate of the number of shares of Green Mountain common stock purchased during the Class Period that may
    have been affected by the conduct at issue in the Action and assuming that all Class Members elect to participate
    in the Settlement, the estimated average recovery (before the deduction of any Court-approved fees, expenses, and
    costs as described herein) per eligible share is $0.18. Class Members should note, however, that the foregoi":g
    average recovery per eligible share is only an estimate. Some Class Members may recover more or less than this
    estimated amount depending on, among other factors, when and the price at which they purchased/acquired their
    shares of Green Mountain common stock, whether they sold their shares of Green Mountain common stock, and the
    total number and value of valid Claims submitted. Distributions to Class Members will be made based on the Plan
    of Allocation set forth herein (see ,i,i 50-69 below) or such other plan of allocation as may be ordered by the Court.
      4.     Averai,:e Amount of Damages Per Share: The Parties do not agree on the average amount of damages per
    sha~e of Green Mountain common stock that would be recoverable if Class Representatives were to prevail in the
    Action. Among other things, Defendants do not agree with the assertion that they violated the federal securities laws
    or that any damages were suffered by any members of the Class as a result of their conduct.
      5.     Attorneys' Fees and Expenses Sought: Plaintiffs' Counsel, which have been prosecuting the Action on
    a wholly c?ntingent basis since its inception in 2011, have not received any payment of attorneys' fees for their
    representat10n of the Class and have advanced the funds to pay expenses necessarily incurred to prosecute this
    Action. Court-appointed Class Counsel, Bernstein Litowitz Berger & Grossmann LLP, Barrack, Rodos & Bacine, and
    Kessler Topaz Meltzer & Check, LLP, will apply to the Court for an award of attorneys' fees for all Plaintiffs' Counsel
    in an amount not to exceed 20% of the Settlement Fund. In addition, Class Counsel will apply for reimbursement
    of Litigation _Expenses incurred in connection with the institution, prosecution, and resolution of the claims against
    Defendants, man amount not to exceed $3,400,000, which amount may include an application for reimbursement
    of the reasonable costs and expenses incurred by Class Representatives directly related to their representation of the
    Class. Any fees and expenses awarded by the Court will be paid from the Settlement Fund. Class Members are not
    personally liable for any such fees or expenses. The estimated average cost per eligible share of Green Mountain
    common stock, if the Court approves Class Counsel's fee and expense application, is $0.05 per share. Please note
    that this amount is only an estimate.
        6.       Identification of Attorneys' Representatives: Class Representatives and the Class are represented by: John
    C. Browne, Esq. of Bernstein Litowitz Berger & Grossmann LLP, 1251 Avenue of the Americas, 44th Floor, New
    York, NY 10020, 1-800-380-8496, blbg@blbglaw.com; Mark R. Rosen, Esq. of Barrack, Rodos & Bacine, Two
    Commerce Square, 2001 Market Street, Ste. 3300, Philadelphia, PA 19103, 1-215-963-0600, mrosen@barrack.com;
    and Matthew L. Mustokoff, Esq. of Kessler Topaz Meltzer & Check, LLP, 280 King of Prussia Road, Radnor, PA
    19087, l-610-667-7706, info@ktmc.com.
           Further information regarding the Action, the Settlement, and this Notice may be obtained by contacting
    Class Counsel or the Court-appointed Claims Administrator at: Green Mountain Securities Litigation, c/o
    Epiq Class Action & Claims Solutions, Inc., P.O. Box 3076, Portland, OR 97208-3076, 1-888-836-0903,
    info@GreenMountainSecuritiesLitigation.com, www.GreenMountainSecuritiesLitigation.com.




    2   Defendants Blanford and Rathke are collectively referred to herein as the "Individual Defendants."
                                  QUESTIONS? Visit www.GreenMountainSecuritiesLitigation.com or
V1892 v.06 07.17.2018                            Call Toll-Free 1-888-836-0903
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       7.     Reasons for the Settlement: Class Representatives' principal reason for entering into the Settlement is the
     substantial immediate cash benefit for the Class without the risk or the delays inherent in further litigation. Moreover,
     the substantial cash benefit provided under the Settlement must be considered against the significant risk that a
     smaller recovery - or indeed no recovery at all - might be achieved after contested motions, a trial of the Action, and
     the likely appeals that would follow a trial. This process could be expected to last several years. Defendants, who
     deny all allegations of wrongdoing or liability whatsoever, are entering into the Settlement solely to eliminate the
     uncertainty, burden, and expense of further protracted litigation.

                                YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT:

                                          This is the only way to be eligible to receive a payment from the Settlement
      SUBMIT A CLAIM FORM                 Fund. If you are a Class Member and you remain in the Class, you will be bound
      POSTMARKED NO LATER                 by the Settlement as approved by the Court and you will give up any Released
      THAN DECEMBER 1, 2018.              Plaintiffs' Claims (defined in ,r 33 below) that you have against Defendants and
                                          the other Defendant Releasees (defined in ,r 34 below), so it is in your interest
                                          to submit a Claim Form.

     EXCLUDE YOURSELF FROM
     THE CLASS BY SUBMITTING              If you exclude yourself from the Class, you will not be eligible to receive any
     A WRITTEN REQUEST FOR                payment from the Settlement Fund. This is the only option that allows you ever
     EXCLUSION SO THAT IT IS              to be part of any other current or future lawsuit against any of the Defendants
     RECEIVED NO LATER THAN               or the other Defendant Releasees concerning the Released Plaintiffs' Claims.
     OCTOBER 1, 2018.

     OBJECT TO THE
     SETTLEMENT BY                        If you do not like the proposed Settlement, the proposed Plan of Allocation, or
     SUBMITTING A WRITTEN                 the request for attorneys' fees and reimbursement of Litigation Expenses, you
                                          may write to the Court and explain why you do not like them. You cannot object
     OBJECTION SO THAT IT IS              to the Settlement, the Plan of Allocation, or the fee and expense request unless
     RECEIVED NO LATER THAN               you are a Class Member and do not exclude yourself from the Class.
     OCTOBER 1, 2018.

     GO TO A HEARING ON
     OCTOBER 22, 2018 AT                  Filing a written objection and notice of intention to appear by
                                          October I, 2018 allows you to speak in Court, at the discretion of the Court, about
     10:00 A.M., AND FILE A               the fairness of the proposed Settlement, the proposed Plan of Allocation, and/or
     NOTICE OF INTENTION TO               the request for attorneys' fees and reimbursement of Litigation Expenses. If you
     APPEAR SO THAT IT IS                 submit a written objection, you may (but you do not have to) attend the hearing
     RECEIVED NO LATER THAN               and, at the discretion of the Court, speak to the Court about your objection.
     OCTOBER 1, 2018.

                                          If you are a member of the Class and you do not submit a valid Claim Form,
                                          you will not be eligible to receive any payment from the Settlement Fund. You
      DO NOTHING.                         will, however, remain a member of the Class, which means that you give up
                                          your right to sue about the claims that are resolved by the Settlement and you
                                          will be bound by any judgments or orders entered by the Court in the Action.




                               QUESTIONS? Visit www.GreenMountainSecuritiesLitigation.com or
V1893 v.06 07.17.2018                         Call Toll-Free 1-888-836-0903
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   Why Did I Get This Notice?                                                                                     Page4
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   How Do I Know If I Am Affected By The Settlement?
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   What Are Class Representatives' Reasons For The Settlement?
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                                                WHY DID I GET THIS NOTICE?

      8.     The Court directed that this Notice be mailed to you because you or someone in your family or an investment
    account for which you serve as a custodian may have purchased or otherwise acquired Green Mountain common stock
    during the Class Period. The Court has directed us to send you this Notice because, as a potential Class Member, you
    have a right to know about your options before the Court rules on the proposed Settlement. Additionally, you have
    the right to understand how this class action lawsuit may generally affect your legal rights. If the Court approves the
    Settlement and the Plan of Allocation (or some other plan of allocation), the Claims Administrator selected by Class
    Representatives and approved by the Court will make payments pursuant to the Settlement after any objections and
    appeals are resolved.
      9.     The purpose of this Notice is to inform you of the existence of this case, that it is a class action, how you might
    be affected, and how to exclude yourself from the Class if you wish to do so. It is also being sent to inform you of the
    terms of the proposed Settlement, and of a hearing to be held by the Court to consider the fairness, reasonableness,
    and adequacy of the Settlement, the proposed Plan of Allocation, and the motion by Class Counsel for an award of
    attorneys' fees and reimbursement of Litigation Expenses (the "Settlement Fairness Hearing"). See ,i 76 below for
    details about the Settlement Fairness Hearing, including the date and location of the hearing.
      10.   The issuance of this Notice is not an expression of any opinion by the Court concerning the merits of any
    claim in the Action, and the Court still has to decide whether to approve the Settlement. If the Court approves
    the Settlement and a plan of allocation, then payments to Authorized Claimants will be made after any appeals
    are resolved and after the completion of all claims processing. Please be patient, as this process can take
    some time to complete.

                                                WHAT IS THIS CASE ABOUT?

      11.   This is a securities class action brought against Defendant Green Mountain and two of its executive officers
    during the Class Period, Defendants Lawrence J. Blanford and Frances G. Rathke. Class Representatives allege that,
    during the Class Period, Defendants misrepresented Green Mountain as a company that was straining capacity and
    struggling to build enough inventory to satisfy demand for its products. Class Representatives allege, however, that
    Defendants knew or should have known that the Company was, in fact, experiencing serious problems with inventory
    controls and concerns about ballooning inventory levels. Class Representatives allege that the truth was finally
    revealed following the close of the market on November 9, 2011, when Green Mountain announced that inventories
    had increased 156% year-over-year and that the Company had missed sales expectations for the first time in 15
    quarters. Class Representatives allege that Green Mountain's stock price declined nearly 39%, from $67.02 per share
    to $40.89 per share, in response to this news.




                              QUESTIONS? Visit www.GreenMountainSecuritiesLitigation.com or
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       12. . T~e Action. was commenced on November 29, 2011, with the filing of a putative securities class action
     complamt m the Umted States District Court for the District of Vermont (the "Court").
      13.    Pursuant to the Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4, as amended (the
    "PSLRA''), notice to the public was issued setting forth the deadline by which putative class members could
    mov_e _the Cour! t_o be appointed to act as le_ad plaintiffs. On April 27, 2012, the Court entered an Order appointing
    Lomsiana Mumc1pal Pohce Employees' Retirement System, Sjunde AP-Fonden, Board of Trustees of the City of Fort
    Lauderdale Gene~al Employees' Retirement System, Employees' Retirement System of the Government of the Virgin
    Islands, ~n~ Pubhc Employees' Retirement System of Mississippi as Lead Plaintiffs in the Action, and approving
    Lead Plamt1ffs' selection of Kessler Topaz Meltzer & Check, LLP, Bernstein Litowitz Berger & Grossmann LLP, and
    Barrack, Rodos & Bacine as Lead Counsel in the Action.
      14.    On October 29, 2012, Lead Plaintiffs filed and served their Consolidated Class Action Complaint for Violation
    of the Federal Securities Laws in the Action. On November 5, 2012, Lead Plaintiffs filed and served the Corrected
~   Consolidated Class Action Complaint for Violation of the Federal Securities Laws (the "Complaint") in the Action.
    The Complaint asserted (i) claims under § lO(b) of the Securities Exchange Act of 1934 (the "Exchange Act"), and
    Rule lOb-5 promulgated thereunder, against all Defendants; and (ii) claims under§ 20(a) of the Exchange Act against
    the Individual Defendants.
       15.  On March 1, 2013, Defendants filed and served their motions to dismiss the Complaint. On May 20, 2013,
    Lead Plaintiffs filed and served their papers in opposition to the motions to dismiss; and on June 26, 2013, Defendants
    filed and served their reply papers. Following oral argument on December 12, 2013, the Court issued an order
    dismissing the Complaint with prejudice on December 20, 2013 and entered judgment for Defendants.
      16.   On January 21, 2014, Lead Plaintiffs filed a notice of appeal, appealing the Court's December 20, 2013 order
    of dismissal to the United States Court of Appeals for the Second Circuit. On March 28, 2014, Lead Plaintiffs filed
    and served their opening brief on appeal; and on May 23, 2014, Defendants filed and served their responsive brief
    on appeal. Following oral argument on December 1, 2014, the Second Circuit vacated the Court's judgment and
    remanded the Action.
      17.    On September 29, 2015, Defendants filed and served their Answer to the Complaint. Thereafter, discovery
    in the Action commenced. In connection with discovery, Defendants and third parties produced more than 1.1
    million pages of documents to Lead Plaintiffs, and Lead Plaintiffs produced over 20,000 pages of documents to
    Defendants. In addition, 44 depositions were taken in the Action, including 4 depositions of representatives of Lead
    Plaintiffs, 7 expert witness depositions, and 33 fact witness depositions. Lead Plaintiffs also served Defendants with
    interrogatories and requests for admission, and the Parties exchanged numerous letters concerning discovery issu_es.
    Lead Plaintiffs also filed numerous motions to compel the production of documents and to compel full and responsive
    answers to interrogatories.
      18.    On December 12, 2016, Lead Plaintiffs filed and served a motion for class certification and appointment
    of class counsel. On May 1, 2017, Defendants filed and served their opposition to the motion for class certification;
    and on May 31, 2017, Lead Plaintiffs filed and served their reply papers. On July 21, 2017, the Court granted Lead
    Plaintiffs' motion for class certification and appointment of Class Counsel (the "Class Certification Order"). The Class
    Certification Order certified the Class as defined in ,r 24 below, appointed Lead Plaintiffs as Class Representatives for
    the Class, and appointed Lead Counsel as Class Counsel for the Class.
      19.   On September 19, 2017, Defendants filed and served their motion for summary judgment on all claims
    in the Complaint. On November 10, 2017, Class Representatives filed and served their opposition to the motion
    for summary judgment; and on December 15, 2017, Defendants served their reply papers. Defendants' motion for
    summary judgment was pending when the Settlement was reached.
      20.    The Parties began exploring settlement in 2016. On May 12, 2016 and November 17, 2016, Class Counsel and
    Defendants' Counsel participated in full-day early neutral evaluation sessions before retired United States District
    Court Magistrate Judge Edward A. Infante (the "Mediator"). In advance of those sessions, the Parties submitted
    detailed mediation statements and exhibits to the Mediator, which addressed the issues of both liability and damages.
    While the initial mediation sessions did not result in a resolution of the Action, the Parties stayed in contact with
    the Mediator and as the case progressed, they were able to bridge the substantial gap in their respective positions.
    As a result of extensive, arm's-length negotiations both at those mediation sessions and in numerous telephonic
    communications with and through the Mediator throughout the pendency of the Action, the Parties finally reached
    an agreement in principle on March 9, 2018 to settle the Action for $36,500,000 in cash, almost two years after
    the initial mediation commenced. The Parties' agreement to settle was memorialized in a Settlement Term Sheet
    executed on April 13, 2018.


                              QUESTIONS? Visit www.GreenMountainSecuritiesLitigation.com or
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    21.    On June 18, 2018, the Parties entered into the Stipulation, which sets forth the final te~ms and
   conditions of the Settlement and supersedes the Settlement Term Sheet. The Stipulation can be viewed at
   www.GreenMountainSecuritiesLitigation.com.
      22. Defendants have entered into the Stipulation solely to eliminate the uncertainty, burden, and expense of
    further protracted litigation. Defendants deny any wrongdoing.
      23.   On July 6, 2018, the Court preliminarily approved the Settlement, authorized this Notice to be disseminated to
    potential Class Members, and scheduled the Settlement Fairness Hearing to consider whether to grant final approval
    to the Settlement.

                               HOW DO I KNOW IF I AM AFFECTED BY THE SETTLEMENT?
                                         WHO IS INCLUDED IN THE CLASS?

     24. If you are a member of the Class, you are subject to the Settlement, unless you timely request to be excluded.
    The Class certified by Order of the Court consists of:
                all persons or entities who purchased or otherwise acquired Green Mountain common stock during
                the period between February 2, 2011 and November 9, 2011, inclusive (the "Class Period"), and who
                                                                                                                               -----
                                                                                                                               '
                                                                                                                                '
                were damaged thereby.
    Excluded from the Class are: (i) Defendants; (ii) members of the Immediate Family of each of the Defendants;
    (iii) any person who was an executive officer and/or director of Green Mountain during the Class Period; (iv) any
    person, firm, trust, corporation, officer, director, or any other individual or entity in which any Defendant has a
    controlling interest or which is related to or affiliated with any of the Defendants; and (v) the legal representatives,
    agents, affiliates, heirs, successors-in-interest, or assigns of any such excluded party. Also excluded from the Class
    are any persons and entities who or which exclude themselves by submitting a request for exclusion in accordance
    with the requirements set forth in this Notice. See "What If I Do Not Want To Be A Member Of The Class? How Do
    I Exclude Myself?," on page 12 below.
                                                                                                                                   ·-
    PLEASE NOTE: RECEIPT OF THIS NOTICE DOES NOT MEAN THAT YOU ARE A CLASS MEMBER
    OR THAT YOU WILL BE ENTITLED TO RECEIVE PROCEEDS FROM THE SETTLEMENT. IF
    YOU ARE A CLASS MEMBER AND YOU WISH TO BE ELIGIBLE TO PARTICIPATE IN THE
    DISTRIBUTION OF PROCEEDS FROM THE SETTLEMENT, YOU ARE REQUIRED TO SUBMIT
    THE CLAIM FORM THAT IS BEING DISTRIBUTED WITH THIS NOTICE AND THE REQUIRED
    SUPPORTING DOCUMENTATION AS SET FORTH THEREIN POSTMARKED NO LATER
    THAN DECEMBER 1, 2018.

                        WHAT ARE CLASS REPRESENTATIVES' REASONS FOR THE SETTLEMENT?

      25.    Class Representatives and Class Counsel believe that the claims asserted against Defendants have merit.
    They recognize, however, the expense and length of continued proceedings necessary to pursue their claims against
    Defendants through trial and appeals, as well as the very substantial risks they would face in establishing liability
    and damages. For example, Defendants have raised a number of arguments and defenses that they did not make false
    and misleading statements in violation of the federal securities laws and that Class Representatives would not be able
    to establish that Defendants acted with the requisite intent. Defendants have also argued that Class Representatives
    have not shown loss causation, including arguing that Defendants disclosed the fact that Green Mountain was not
    capacity constrained prior to the corrective disclosure on November 9, 2011. Even assuming Class Representatives
    could establish liability and loss causation, the amount of damages that could be attributed to the allegedly false
    statements would be hotly contested. At the time that the Parties agreed in principle to settle the Action, the Court
    had not yet decided Defendants' motion for summary judgment, and while Class Representatives believe that they
    had compelling arguments in response, Class Representatives acknowledge that a serious risk exists that Defendants'
    arguments would persuade the Court to reduce dramatically, or even eliminate altogether, the damages that they could
    recover from Defendants. What's more, even if Class Representatives successfully defeated Defendants' motion,
    Defendants would in all likelihood make the same arguments to a jury should this case proceed to trial. Thus, there
    were very significant risks attendant to the continued prosecution of the Action.
      26.    In light of these risks, the amount of the Settlement, and the immediacy of recovery to the Class, Class
    Representatives and Class Counsel believe that the proposed Settlement is fair, reasonable, and adequate, and in the
    best interests of the Class. Class Representatives and Class Counsel believe that the Settlement provides a substantial
    benefit to the Class, namely $36,500,000 in cash (less the various deductions described in this Notice), as compared
    to the risk that the claims in the Action would produce a smaller, or no recovery after summary judgment, trial, and
    appeals, possibly years in the future.
                              QUESTIONS? Visit www.GreenMountainSecuritiesLitigation.com or
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      27.   Defendants have denied the claims asserted against them in the Action and deny having engaged in any
    wrongdoing or violation of law of any kind whatsoever. Defendants have agreed to the Settlement solely to eliminate
    the burden and expense of continued litigation. Accordingly, the Settlement may not be construed as an admission
    of any wrongdoing by Defendants.

                                WHAT MIGHT HAPPEN IF THERE WERE NO SETTLEMENT?

      28. If there were no Settlement and Class Representatives failed to establish any essential legal or factual element
    of their claims against Defendants, neither Class Representatives nor the other members of the Class would recover
    anything from Defendants. Also, if Defendants were successful in proving any of their defenses, either at summary
    judgment, at trial, or on appeal, the Class could recover substantially less than the amount provided in the Settlement,
    or nothing at all.

                                        HOW ARE CLASS MEMBERS AFFECTED
                                        BY THE ACTION AND THE SETTLEMENT?

     29.    As a Class Member, you are represented by Class Representatives and Class Counsel, unless you enter an
    appearance through counsel of your own choice and at your own expense. You are not required to retain your own
    counsel, but if you choose to do so, such counsel must file a notice of appearance on your behalf and must serve
    copies of his or her appearance on the attorneys listed in the section entitled, "When And Where Will The Court
    Decide Whether To Approve The Settlement?," on page 13 below.
     30. If you are a Class Member and do not wish to remain a Class Member, you may exclude yourself from the
    Class by following the instructions in the section entitled, "What If I Do Not Want To Be A Member Of The Class?
    How Do I Exclude Myself?," on page 12 below.
     31.    If you are a Class Member and you wish to object to the Settlement, the Plan of Allocation, or Class Counsel's
    application for attorneys' fees and reimbursement of Litigation Expenses, and if you do not exclude yourself from the
    Class, you may present your objections by following the instructions in the section entitled, "When And Where Will
    The Court Decide Whether To Approve The Settlement?," on page 13 below.
      32. If you are a Class Member and you do not exclude yourself from the Class, you will be bound by any orders
    issued by the Court. If the Settlement is approved, the Court will enter a judgment (the "Judgment"). The Judgment
    will dismiss with prejudice the claims against Defendants and will provide that, upon the Effective Date of the
    Settlement, Class Representatives and each of the other Class Members, on behalf of themselves, and their respective
    heirs, executors, administrators, predecessors, successors, and assigns in their capacities as such, will have fully,
    finally, and forever compromised, settled, released, resolved, relinquished, waived, and discharged each and every
    Released Plaintiffs' Claim (as defined in ,r 33 below) (including Unknown Claims, as defined below) against the
    Defendant Releasees (as defined in ,r 34 below), whether or not such Class Member executes and delivers the Proof
    of Claim Form or shares in the Net Settlement Fund, and will be permanently barred and enjoined from bringing any
    action asserting any of the Released Plaintiffs' Claims against any and all of the Defendant Releasees.
      33.    "Released Plaintiffs' Claims" means any and all claims, rights, duties, controversies, obligations, demands,
    actions, debts, sums of money, suits, contracts, agreements, promises, damages, losses, judgments, liabilities,
    allegations, arguments, and causes of action of every nature and description, whether known claims or Unknown
    Claims (as defined below), whether arising under federal, state, local, common, statutory, administrative, or foreign
    law, or any other law, rule or regulation, at law or in equity, whether class or individual in nature, whether fixed or
    contingent, whether accrued or unaccrued, whether liquidated or unliquidated, whether matured or unmatured, that
    Class Representatives or any other member of the Class (i) asserted in the Complaint or (ii) could have asserted in
    any court or forum that arise out of or are based upon the allegations, transactions, facts, matters or occurrences,
    representations, or omissions set forth in the Complaint and that relate to the purchase or acquisition of shares of
    Green Mountain common stock during the Class Period. Released Plaintiffs' Claims do not include (i) any claims
    of any person or entity who or which submits a request for exclusion from the Class that is accepted by the Court;
    (ii) any claims asserted in any derivative or ERISA action; (iii) any claims by any governmental entity that arise out
    of any governmental investigation of Defendants relating to the wrongful conduct alleged in the Action; and (iv) any
    claims relating to the enforcement of the Settlement.
     34.    "Defendant Releasees" means (i) the Defendants and their attorneys; (ii) Defendants' respective Immediate
    Family members, heirs, trusts, trustees, executors, estates, administrators, beneficiaries, agents, affiliates, insurers
    and their reinsurers, predecessors, predecessors-in-interest, successors, successors-in-interest, assigns, attorneys,
    advisors, and associates of each of the foregoing; (iii) all current and former directors, officers, and employees of
    Keurig Green Mountain; and (iv) the Insureds, in their capacities as such.
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      35.    "Unknown Claims" means any Released Plaintiffs' Claims which Class Representatives or anr other Class
    Member does not know or suspect to exist in his, her, or its favor at the time of the release of such claims, and any
    Released Defendants' Claims which any Defendant does not know or suspect to exist in his, her, or i~s favo~ ~t the
    time of the release of such claims, which, if known by him, her, or it, might have affected his, her, or its dec1s1on(s)
    with respect to this Settlement, including, but not limited to, whether or not to object to the Settlement or to the
    release of the Released Claims. With respect to any and all Released Claims, the Parties stipulate and agree that, upon
    the Effective Date, Class Representatives and Defendants shall expressly waive, and each of the other Class Members
    shall be deemed to have, and by operation of the Judgment shall have, expressly waived, the provisions, rights, and
    benefits of California Civil Code §1542, which provides:
                 A general release does not extend to claims which the creditor does not know or suspect to exist
                 in his or her favor at the time of executing the release, which if known by him or her must have
                 materially affected his or her settlement with the debtor.
    Class Representatives and Defendants shall expressly waive, and each of the other Class Members shall be deemed
    to have, and by operation of the Judgment shall have, expressly waived, any and all provisions, rights, and benefits
    conferred by any law of any state or territory of the United States, or principle of common law, which is similar,
    comparable or equivalent to California Civil Code §1542. The Parties acknowledge that they may hereafter discover
    facts in addition to or different from those which he, she, it or their counsel now knows or believes to be true with respect
    to the subject matter of the Released Claims, but, upon the Effective Date, Class Representatives and Defendants shall
    expressly settle and release, and each of the other Class Members shall be deemed to have, and by operation of the
    Judgment shall have, settled and released, any and all Released Claims without regard to the subsequent discovery or
    existence of such different or additional facts. Class Representatives and Defendants acknowledge, and each of the
    other Class Members shall be deemed by operation of the Judgment to have acknowledged, that the foregoing waiver
    was separately bargained for and is a key element of the Settlement of which this release is a part.
      36.    The Judgment will also provide that, upon the Effective Date of the Settlement, Defendants, on behalf of
    themselves, and their respective heirs, executors, administrators, predecessors, successors, and assigns in their
    capacities as such, will have fully, finally and forever compromised, settled, released, resolved, relinquished,
    waived, and discharged each and every Released Defendants' Claim (as defined in 137 below) (including Unknown
    Claims) against the Plaintiff Releasees (as defined in 1 38 below), and will forever be barred and enjoined from
    commencing, maintaining, or prosecuting any or all of the Released Defendants' Claims against any and all
    of the Plaintiff Releasees.
      37.    "Released Defendants' Claims" means any and all claims, rights, duties, controversies, obligations, demands,
    actions, debts, sums of money, suits, contracts, agreements, promises, damages, losses, judgments, liabilities,
    allegations, arguments, and causes of action of every nature and description, whether known claims or Unknown
    Claims (as defined above), whether arising under federal, state, local, common, statutory, administrative, or foreign
    law, or any other law, rule or regulation, at law or in equity, whether class or individual in nature, whether fixed or
    contingent, whether accrued or unaccrued, whether liquidated or unliquidated, whether matured or unmatured, that
    arise out of or relate in any way to the institution, prosecution, or settlement of the claims against the Defendants.
    Released Defendants' Claims do not include (i) any claims against any person or entity who or which submits a
    request for exclusion from the Class that is accepted by the Court; and (ii) any claims relating to the enforcement
    of the Settlement.
      38. "Plaintiff Releasees" means (i) Plaintiffs, their attorneys, and all other Class Members; (ii) the auditors,
    investment advisors, managers or agents of any Plaintiffs with respect to any decision to purchase, hold, sell or
    otherwise dispose of any Keurig Green Mountain securities; (iii) the current and fo_rmer parents, affiliates,
    subsidiaries, successors, predecessors, assigns, and assignees of each of the foregoing in (i) - (ii) above; and (iv) all
    elected or appointed officials who had or exercised any authority with respect to the decision to purchase, hold, sell
    or otherwise dispose of any Keurig Green Mountain securities or to initiate, prosecute or settle this Action, as well
    as any other current and former officers, directors, Immediate Family members, heirs, trusts, trustees, executors,
    estates, administrators, beneficiaries, agents, affiliates, insurers, reinsurers, predecessors, predecessors-in-interest,
    successors, successors-in-interest, assigns, attorneys, advisors, and associates of the each of the foregoing in (i) - (iii)
    above, in their respective capacities as such.

                         HOW DO I PARTICIPATE IN THE SETTLEMENT? WHAT DO I NEED TO DO?

      39.   To be eligible for a payment from the proceeds of the Settlement, you must be a member of the Class and
    you must timely complete and return the Claim Form with adequate supporting documentation postmarked no
    later than December 1, 2018. A Claim Form is included with this Notice, or you may obtain one from the website
    maintained by the Claims Administrator for the Settlement, www.GreenMountainSecuritiesLitigation.com, or you

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    may request that a Claim Form be mailed to you by calling the Claims Administrator toll free at 1-888-836-0903 or
    by emailing the Claims Administrator at info@GreenMountainSecuritiesLitigation.com. Please retain all records
    of your ownership of and transactions in Green Mountain common stock, as they may be needed to document your
    Claim. If you request exclusion from the Class or do not submit a timely and valid Claim Form, you will not be
    eligible to share in the Net Settlement Fund.

                                           HOW MUCH WILL MY PAYMENT BE?

      40. At this time, it is not possible to make any determination as to how much any individual Class Member may
    receive from the Settlement.
      41.   Pursuant to the Settlement, Defendants shall cause their insurers to pay $36,500,000 in cash. The Settlement
    Amount will be deposited into an escrow account. The Settlement Amount plus any interest earned thereon is referred
    to as the "Settlement Fund." If the Settlement is approved by the Court and the Effective Date occurs, the "Net
    Settlement Fund" (that is, the Settlement Fund less (i) all federal, state and/or local taxes on any income earned by the
    Settlement Fund and the reasonable costs incurred in connection with determining the amount of and paying taxes
    owed by the Settlement Fund (including reasonable expenses of tax attorneys and accountants); (ii) the costs and
    expenses incurred in connection with providing notice to Class Members and administering the Settlement on behalf
    of Class Members; (iii) any attorneys' fees and Litigation Expenses awarded by the Court; and (iv) any other costs or
    fees approved by the Court) will be distributed to Class Members who submit valid Claim Forms, in accordance with
    the proposed Plan of Allocation or such other plan of allocation as the Court may approve.
      42.   The Net Settlement Fund will not be distributed unless and until the Court has approved the Settlement
    and a plan of allocation, and the time for any petition for rehearing, appeal, or review, whether by certiorari or
    otherwise, has expired.
     43.    Neither Defendants nor any other person or entity that paid any portion of the Settlement Amount on their
    behalf are entitled to get back any portion of the Settlement Fund once the Court's order or judgment approving the
    Settlement becomes Final. Defendants shall not have any liability, obligation, or responsibility for the administration
    of the Settlement, the disbursement of the Net Settlement Fund, or the plan of allocation.
      44. Approval of the Settlement is independent from approval of a plan of allocation. Any determination with
    respect to a plan of allocation will not affect the Settlement, if approved.
      45.    Unless the Court otherwise orders, any Class Member who fails to submit a Claim Form postmarked on or
    before December I, 2018 shall be fully and forever barred from receiving payments pursuant to the Settlement but
    will in all other respects remain a Class Member and be subject to the provisions of the Stipulation, including the
    terms of any Judgment entered and the releases given. This means that each Class Member releases the Released
    Plaintiffs' Claims (as defined in ,r 33 above) against the Defendant Releasees (as defined in ,r 34 above) and will be
    enjoined and prohibited from filing, prosecuting, or pursuing any of the Released Plaintiffs' Claims against any of the
    Defendant Releasees whether or not such Class Member submits a Claim Form.
     46. Participants in and beneficiaries of any employee retirement and/or benefit plan ("Employee Plan") should
    NOT include any information relating to shares of Green Mountain common stock purchased/acquired through an
    Employee Plan in any Claim Form they submit in this Action. They should include ONLY those shares of Green
    Mountain common stock purchased/acquired during the Class Period outside of an Employee Plan. Claims based on
    any Employee Plan(s)' purchases/acquisitions of eligible Green Mountain common stock during the Class Period may
    be made by the Employee Plan(s)' trustees. To the extent any of the Defendants or any of the other persons or entities
    excluded from the Class are participants in an Employee Plan(s), such persons or entities shall not receive, either
    directly or indirectly, any portion of the recovery that may be obtained from the Settlement by such Employee Plan(s).
     47.    The Court has reserved jurisdiction to allow, disallow, or adjust on equitable grounds the Claim
    of any Class Member.
     48.     Each Claimant shall be deemed to have submitted to the jurisdiction of the Court with respect to his, her,
    or its Claim Form.
      49.    Only Class Members, i.e., persons and entities who purchased or otherwise acquired Green Mountain
    common stock during the Class Period and were damaged as a result of such purchases or acquisitions, will be
    eligible to share in the distribution of the Net Settlement Fund. Persons and entities that are excluded from the
    Class by definition or that exclude themselves from the Class pursuant to request will not be eligible to receive a
    distribution from the Net Settlement Fund and should not submit Claim Forms. The only security that is included in
    the Settlement is Green Mountain common stock.
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                                                           ALLOCATION
      50.   The objective of the Plan of Allocation is to equitably distribute the Net Settl_ement Fund to t~ose Class
    Members who suffered economic losses as a proximate result of the alleged wrongdomg. The calculations made
    pursuant to the Plan of Allocation are not intended to be estimates of, nor indicative of, the amounts that Cl~ss
    Members might have been able to recover after a trial. Nor are the calculations pursuant to the Plan of Allocation
    intended to be estimates of the amounts that will be paid to Authorized Claimants pursuant to the Settlement. '!'he
    computations under the Plan of Allocation are only a method to weigh the claims of Authorized Claimants agamst
    one another for the purposes of making pro rata allocations of the Net Settlement Fund.
      51.   In developing the Plan of Allocation, Class Representatives' damages expert calculated the estimated
    amount of artificial inflation in the per share closing price of Green Mountain common stock which allegedly was
    proximately caused by Defendants' alleged false and misleading statements and material omissions. In calculating
    the estimated artificial inflation allegedly caused by Defendants' alleged misrepresentations and omissions, Class
    Representatives' damages expert considered price changes in Green Mountain common stock in reaction to certain
    public announcements allegedly revealing the truth concerning Defendants' alleged misrepresentations and omissions,
    adjusting for price changes that were attributable to market or industry forces.
      52.    For losses to be compensable damages under the federal securities laws, the disclosure of the allegedly
    misrepresented information must be, among other things, the cause of the decline in the price or value of the security.
    In this case, Class Representatives allege that Defendants made false statements and omitted material facts during
    the period between February 2, 2011 and November 9, 2011, inclusive, which had the effect of artificially inflating
    the price of Green Mountain common stock. Class Representatives further allege that corrective information was
    released to the market on November 9, 2011 (after the close of trading) which removed the artificial inflation from the
    price of Green Mountain common stock.
      53.   Recognized Loss Amounts are based primarily on the difference in the amount of alleged artificial inflation
    in the price of Green Mountain common stock at the time of purchase or acquisition and at the time of sale or the
    difference between the actual purchase price and sale price. Accordingly, in order to have a Recognized Loss Amount
    under the Plan of Allocation, shares of Green Mountain common stock purchased or otherwise acquired during the
    Class Period must have been held through the close of trading on November 9, 2011.
                                     CALCULATION OF RECOGNIZED LOSS AMOUNTS
      54.   Based on the formula stated in 155 below, a "Recognized Loss Amount" will be calculated for each purchase
    or acquisition of Green Mountain common stock during the Class Period (i.e., from February 2, 2011 through
    and including the close of trading on November 9, 2011), that is listed on the Claim Form and for which adequate
    documentation is provided. If a Recognized Loss Amount calculates to a negative number or zero under the formula
    below, that number shall be zero.
     55.   For each share of Green Mountain common stock purchased or otherwise acquired during the period from
    February 2, 2011 through and including the close of trading on November 9, 2011, and:
                       (a)        Sold before the close of trading on November 9, 2011, the Recognized Loss Amount per
                 share will be $0.00.
                       (b)        Sold during the period from November 10, 2011 through and including the close of trading
                 on February 7, 2012, the Recognized Loss Amount per share will be the least of (i) $26.29;3 (ii) the
                 purchase/acquisition price (excluding all fees, taxes and commissions) minus the sale price (excluding all fees,
                 taxes and commissions); or (iii) the purchase/acquisition price (excluding all fees, taxes and commissions)
                 minus the average closing price between November 10, 2011 and the date of sale as stated in Table A at the
                 end of this Notice.
                       (c)       Held as of the close of trading on February 7, 2012, the Recognized Loss Amount per
                 share will be the lesser of (i) $26.29; or (ii) the purchase/acquisition price (excluding all fees, taxes and
                 commissions) minus $50.58, the average closing price for Green Mountain common stock between November
                 10, 2011 and February 7, 2012 (the last entry on Table A). 4
    3
      $26.29 represents the dollar amount of alleged artificial inflation applicable to each share of Green Mountain common stock purchased or
    acquired during the Class Period.
    4
     Pursuant to Section 21D(e)(l) of the Exchange Act, "in any private action arising under this title in which the plaintiff seeks to establish
    damages by reference to the market price of a security, the award of damages to the plaintiff shall not exceed the difference between the
    purchase or sale price paid or received, as appropriate, by the plaintiff for the subject security and the mean trading price of that security
    during the 90-day period beginning on the date on which the information correcting the misstatement or omission that is the basis for the
    action is disseminated to the market." Consistent with the requirements of the Exchange Act, Recognized Loss Amounts are reduced to
    an appropriate extent by taking into account the closing prices of Green Mountain common stock during the "90-day look-back period,"
    November 10, 2011 through and including the close of trading on February 7, 2012. The mean (average) closing price for Green Mountain
    common stock during this 90-day look-back period was $50.58.
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                                                       ADDITIONAL PROVISIONS
      56. FIFO Ma~ching: If a Class Member made more than one purchase/acquisition or sale of Green Mountain
    common stock durmg the Class Period, all purchases/acquisitions and sales will be matched on a First In, First Out
    ("FIFO") basis. Class Period sales will be matched first against any holdings at the beginning of the Class Period and
    then against purchases/acquisitions in chronological order, beginning with the earliest purchase/acquisition made
    during the Class Period.
      57.    "Purchase/Sale" Dates: Purchases or acquisitions and sales of Green Mountain common stock will be
    deemed to have occurred on the "contract" or "trade" date as opposed to the "settlement" or "payment" date. The
    receipt or grant by gift, inheritance, or operation of law of Green Mountain common stock during the Class Period
    shall not be deemed a purchase or acquisition of Green Mountain common stock for the calculation of a Claimant's
    Recognized Loss Amount, nor shall the receipt or grant be deemed an assignment of any claim relating to the
    purchase/acquisition of Green Mountain common stock unless (i) the donor or decedent purchased or otherwise
    acquired Green Mountain common stock during the Class Period; (ii) the instrument of gift or assignment specifically
    provides that it is intended to transfer such rights; and (iii) no Claim Form was submitted by or on behalf of the donor,
    on behalf of the decedent, or by anyone else with respect to such Green Mountain common stock shares.
     58.    Short Sales: The date of covering a "short sale" is deemed to be the date of purchase or acquisition of the
    Green Mountain common stock. The date of a "short sale" is deemed to be the date of sale of the Green Mountain
    common stock. In accordance with the Plan of Allocation, however, the Recognized Loss Amount on "short sales"
    and the purchases covering "short sales" is zero.
     59.   In the event that a Claimant has an opening short position in Green Mountain common stock, the earliest
    purchases or acquisitions of Green Mountain common stock during the Class Period will be matched against such
    opening short position, and not be entitled to a recovery, until that short position is fully covered.
     60.    Common Stock Purchased/Sold Through the Exercise of Options: With respect to Green Mountain
    common stock purchased or sold through the exercise of an option, the purchase/sale date of the common stock is the
    exercise date of the option and the purchase/sale price is the exercise price of the option.
     61.    Calculation of Claimant's "Recognized Claim": A Claimant's "Recognized Claim" under the Plan of
    Allocation will be the sum of his, her, or its Recognized Loss Amounts as calculated above.
      62.    Market Gains and Losses: With respect to all Green Mountain common stock shares purchased or acquired
    during the Class Period, the Claims Administrator will determine if the Claimant had a "Market Gain" or a "Market
    Loss" with respect to his, her, or its overall transactions during the Class Period in those shares. For purposes of
    making this calculation, the Claims Administrator shall determine the difference between (i) the Claimant's Total
    Purchase Amount 5 and (ii) the sum of the Claimant's Total Sales Proceeds 6 and the Claimant's Holding Value.7 If the
    Claimant's Total Purchase Amount minus the sum of the Claimant's Total Sales Proceeds and the Holding Value is
    a positive number, that number will be the Claimant's Market Loss; if the number is a negative number or zero, that
    number will be the Claimant's Market Gain.
      63.    If a Claimant had a Market Gain with respect to his, her, or its overall transactions in Green Mountain
    common stock during the Class Period, the value of the Claimant's Recognized Claim will be zero, and the Claimant
    will in any event be bound by the Settlement. If a Claimant suffered an overall Market Loss with respect to his, her,
    or its overall transactions in Green Mountain common stock during the Class Period but that Market Loss was less
    than the Claimant's Recognized Claim, then the Claimant's Recognized Claim will be limited to the amount of the
    Market Loss, and the Claimant will in any event be bound by the Settlement.
      64. Determination of Distribution Amount: If the sum total of the Recognized Claims of all Authorized
    Claimants who are entitled to receive payment out of the Net Settlement Fund is greater than the Net Settlement
    Fund, each Authorized Claimant shall receive his, her, or its pro rata share of the Net Settlement Fund. The
    pro rata share will be the Authorized Claimant's Recognized Claim divided by the sum total amount of the Recognized
    Claims of all Authorized Claimants, multiplied by the total amount in the Net Settlement Fund.

    5
      The "Total Purchase Amount" is the total amount the Claimant paid (excluding all fees, taxes and commissions) for all shares of Green
    Mountain common stock purchased/acquired during the Class Period.
    6
      The Claims Administrator shall match any sales of Green Mountain common stock during the Class Period first against the Claimant's
    opening position in the stock (the proceeds of those sales will not be considered for purposes of calculating Market Gains or Market Losses).
    The total amount received (excluding all fees, taxes and commissions) for sales of the remaining shares of Green Mountain common stock
    sold during the Class Period is the "Total Sales Proceeds."
    7
      The Claims Administrator shall ascribe a "Holding Value" of$40.89 to each share of Green Mountain common stock purchased/acquired
    during the Class Period that was still held as of the close of trading on November 9, 2011.
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     65. Ifthe Net Settlement Fund exceeds the sum total amount of the Recognized Claims of all Authorized Claimants
    who are entitled to receive payment out of the Net Settlement Fund, the excess amount in the Net Settlement Fund
    will be distributed pro rata to all Authorized Claimants entitled to receive payment.
      66. If an Authorized Claimant's Distribution Amount calculates to less than $10.00, no distribution will be made
    to that Authorized Claimant.
      67.    After the initial distribution of the Net Settlement Fund, the Claims Administrator will make reasonable and
    diligent efforts to have Authorized Claimants cash their distribution checks. To the extent any monies remain in the
    Net Settlement Fund nine (9) months after the initial distribution, if Class Counsel, in consultation with the Claims
    Administrator, determine that it is cost-effective to do so, the Claims Administrator will conduct a re-distribution
    of the funds remaining after payment of any unpaid fees and expenses incurred in administering the Settlement,
    including for such re-distribution, to Authorized Claimants who have cashed their initial distributions and who
    would receive at least $10.00 from such re-distribution. Additional re-distributions to Authorized Claimants who
    have cashed their prior checks and who would receive at least $10.00 on such additional re-distributions may occur
    thereafter if Class Counsel, in consultation with the Claims Administrator, determine that additional re-distributions,
    after the deduction of any additional fees and expenses incurred in administering the Settlement, including for
    such re-distributions, would be cost-effective. At such time as it is determined that the re-distribution of funds
    remaining in the Net Settlement Fund is not cost-effective, the remaining balance will be contributed to non-sectarian,
    not-for-profit, 501(c)(3) organization(s), to be recommended by Class Counsel and approved by the Court.
      68.    Payment pursuant to the Plan of Allocation, or such other plan of allocation as may be approved by the Court,
    shall be conclusive against all Authorized Claimants. No person shall have any claim against Class Representatives,
    Plaintiffs' Counsel, Class Representatives' damages expert, Defendants, Defendants' Counsel, or any of the other
    Plaintiff Releasees or Defendant Releasees, or the Claims Administrator or other agent designated by Class Counsel
    arising from distributions made substantially in accordance with the Stipulation, the plan of allocation approved by
    the Court, or further Orders of the Court. Class Representatives, Defendants, and their respective counsel, and all
    other Defendant Releasees, shall have no responsibility or liability whatsoever for the investment or distribution of the
    Settlement Fund or the Net Settlement Fund; the plan of allocation; the determination, administration, calculation, or
    payment of any Claim Form or nonperformance of the Claims Administrator; the payment or withholding of Taxes;
    or any losses incurred in connection therewith.
     69.    The Plan of Allocation set forth herein is the plan that is being proposed to the Court for its approval by Class
    Representatives after consultation with their damages expert. The Court may approve this plan as proposed or it may
    modify the Plan of Allocation without further notice to the Class. Any Orders regarding any modification of the Plan
    of Allocation will be posted on the Settlement website, www.GreenMountainSecuritiesLitigation.com.

                             WHAT PAYMENT ARE THE ATTORNEYS FOR THE CLASS SEEKING?
                                        HOW WILL THE LAWYERS BE PAID?

      70.    Plaintiffs' Counsel have not received any payment for their services in pursuing claims against Defendants
    on behalf of the Class, nor have Plaintiffs' Counsel been reimbursed for their out-of-pocket expenses. Before final
    approval of the Settlement, Class Counsel will apply to the Court for an award of attorneys' fees for all Plaintiffs'
    Counsel in an amount not to exceed 20% of the Settlement Fund. At the same time, Class Counsel also intend to
    apply for reimbursement of Litigation Expenses in an amount not to exceed $3,400,000, which amount may include
    an application for reimbursement of the reasonable costs and expenses incurred by Class Representatives directly
    related to their representation of the Class. The Court will determine the amount of any award of attorneys' fees or
    reimbursement of Litigation Expenses. Such sums as may be approved by the Court will be paid from the Settlement
    Fund. Class Members are not personally liable for any such fees or expenses.

                                WHAT IF I DO NOT WANT TO BE A MEMBER OF THE CLASS?
                                              HOW DO I EXCLUDE MYSELF?

      71.     Each Class Member will be bound by all determinations and judgments in this lawsuit, whether
    favorable or unfavorable, unless such person or entity mails or delivers a written Request for Exclusion
    from the Class, addressed to: Green Mountain Securities Litigation, EXCLUSIONS, c/o Epiq Class
    Action & Claims Solutions, Inc., P.O. Box 3076, Portland, OR 97208-3076. The exclusion request must
    be received no later than October 1, 2018. You will not be able to exclude yourself from the Class after that
    date. Each Request for Exclusion must (i) state the name, address, and telephone number of the person or entity
    requesting exclusion, and in the case of entities, the name and telephone number of the appropriate contact person;
    (ii) state that such person or entity "requests exclusion from the Class in LAMPERS et al. v. Green Mountain
    Coffee Roasters, Inc. et al., Civil Action No. 2:ll-CV-00289-WKS"; (iii) state (a) the number of shares of Green
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    Mountain common stock that the person or entity requesting exclusion owned as of the opening of trading on
    February 2, 2011, and (b) the number of shares of Green Mountain common stock that the person or entity
    requesting exclusion purchas~d/acquired and/or sold during the Class Period (i.e., between February 2, 2011 and
    November 9, 2011, inclusive), as well as the dates, number of shares, and prices of each such purchase/acquisition
    and/or sale; and (iv) be signed by the person or entity requesting exclusion or an authorized representative. A
    Request for Exclusion shall not be valid and effective unless it provides all the information called for in this
    paragraph and is received within the time stated above, or is otherwise accepted by the Court.
      72. If you do not want to be part of the Class, you must follow these instructions for requesting exclusion even
    if you have pending, or later file, another lawsuit, arbitration, or other proceeding relating to any Released Plaintiffs'
    Claim against any of the Defendant Releasees. Excluding yourself from the Class is the only option that allows you to
    be part of any other current or future lawsuit against Defendants or any of the other Defendant Releasees concerning
    the Released Plaintiffs' Claims. Please note, however, if you decide to exclude yourself from the Class, you may be
    time-barred from asserting the claims covered by the Action by a statute of repose.
     73.    If you ask to be excluded from the Class, you will not be eligible to receive any payment out of the
    Net Settlement Fund.
     74.    Defendants have the right to terminate the Settlement if valid requests for exclusion are received from
    persons and entities entitled to be members of the Class in an amount that exceeds an amount agreed to by Class
    Representatives and Defendants.

                          WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE THE
                                  SETTLEMENT? DO I HAVE TO COME TO THE HEARING?
                             MAY I SPEAK AT THE HEARING IF I DON'T LIKE THE SETTLEMENT?

      75. Class Members do not need to attend the Settlement Fairness Hearing. The Court will consider any
    submission made in accordance with the provisions below even if a Class Member does not attend the hearing.
    You can participate in the Settlement without attending the Settlement Fairness Hearing. Please Note: The
    date and time of the Settlement Fairness Hearing may change without further written notice to the Class. You
    should monitor the Court's docket and the Settlement website, www.GreenMountainSecuritiesLitigation.com, before
    making plans to attend the Settlement Fairness Hearing. You may also confirm the date and time of the Settlement
    Fairness Hearing by contacting Class Counsel.
      76.   The Settlement Fairness Hearing will be held on October 22, 2018 at 10:00 a.m., before the Honorable
    William K. Sessions III at the United States District Court for the District of Vermont, 11 Elmwood Avenue,
    Burlington, VT 05401, Courtroom 110. The Court reserves the right to approve the Settlement, the Plan of
    Allocation, Class Counsel's motion for an award of attorneys' fees and reimbursement of Litigation Expenses,
    and/or any other matter related to the Settlement at or after the Settlement Fairness Hearing without further notice
    to the members of the Class.




                                                [Notice continues on next page]




                                QUESTIONS? Visit www.GreenMountainSecuritiesLitigation.com or
V18913 v.06 07.17.2018                         Call Toll-Free 1-888-836-0903
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      77.   Any Class Member who or which does not request exclusion may object to the Settlement, the proposed Plan
    of Allocation, or Class Counsel's motion for an award of attorneys' fees and reimbursement of Litigation Expenses.
    Objections must be in writing. You must file any written objection, together with copies of all other papers and briefs
    supporting the objection, with the Clerk's Office at the United States District Court for the District of Vermont at
    the address set forth below on or before October 1, 2018. You must also serve the papers on Class Counsel and on
    Defendants' Counsel at the addresses set forth below so that the papers are received on or before October 1, 2018.
               Clerk's Office                                  Class Counsel                    Defendants' Counsel
    United States District Court                      Bernstein Litowitz Berger              Ropes & Gray LLP
    District of Vermont                                & Grossmann LLP                       Randall W. Bodner, Esq.
    Clerk of the Court                                John C. Browne, Esq.                   800 Boylston Street
    11 Elmwood Avenue                                 1251 Avenue of the Americas,           Boston, MA 02199
    Burlington, VT 05401                                     44th Floor
                                                      New York, NY 10020                     Gravel and Shea
                                                                                             Matthew B. Byrne, Esq.
                                                       Barrack, Rodos & Bacine               76 St. Paul Street, 7th Floor
                                                       Mark R. Rosen, Esq.                   P.O. Box 369
                                                       Two Commerce Square                   Burlington, VT 05402
                                                       2001 Market Street, Ste. 3300
                                                       Philadelphia, PA 19103
                                                      Kessler Topaz Meltzer
                                                       & Check, LLP
                                                      Matthew L. Mustokoff, Esq.
                                                      280 King of Prussia Road
                                                      Radnor, PA 19087
      78.    Any objection (i) must state the name, address, and telephone number of the person or entity objecting
    and must be signed by the objector; (ii) must state whether the objector is represented by counsel and, if so, the
    name, address, and telephone number of the objector's counsel; (iii) must contain a statement of the Class Member's
    objection or objections, and the specific reasons for each objection, including any legal and evidentiary support
    the Class Member wishes to bring to the Court's attention; and (iv) must include documents sufficient to prove
    membership in the Class, consisting of documents showing the number of shares of Green Mountain common stock
    that the objector (a) owned as of the opening of trading on February 2, 2011, and (b) purchased/acquired and/or sold
    during the Class Period (i.e., between February 2, 2011 and November 9, 2011, inclusive), as well as the number of
    shares, dates, and prices for each such purchase/acquisition and sale. Documentation establishing membership in
    the Class must consist of copies of brokerage confirmation slips or monthly brokerage account statements, or an
    authorized statement from the objector's broker containing the transactional and holding information found in a
    broker confirmation slip or account statement. You may not object to the Settlement, the Plan of Allocation, or Class
    Counsel's motion for attorneys' fees and reimbursement of Litigation Expenses if you exclude yourself from the Class
    or if you are not a member of the Class.
     79.    You may file a written objection without having to appear at the Settlement Fairness Hearing. You may not,
    however, appear at the Settlement Fairness Hearing to present your objection unless you first file and serve a written
    objection in accordance with the procedures described above, unless the Court orders otherwise.
      80.    If you wish to be heard orally at the hearing in opposition to the approval of the Settlement, the Plan of
    Allocation, or Class Counsel's motion for an award of attorneys' fees and reimbursement of Litigation Expenses, and
    if you timely file and serve a written objection as described above, you must also file a notice of appearance with
    the Clerk's Office and serve it on Class Counsel and Defendants' Counsel at the addresses set forth in ,i 77 above
    so that it is received on or before October 1, 2018. Persons who intend to object and desire to present evidence at
    the Settlement Fairness Hearing must include in their written objection or notice of appearance the identity of any
    witnesses they may call to testify and exhibits they intend to introduce into evidence at the hearing. Such persons
    may be heard orally at the discretion of the Court.
      81.    You are not required to hire an attorney to represent you in making written objections or in appearing at
    the Settlement Fairness Hearing. However, if you decide to hire an attorney, it will be at your own expense, and that
    attorney must file a notice of appearance with the Court and serve it on Class Counsel and Defendants' Counsel at
    the addresses set forth in ,i 77 above so that the notice is received on or before October 1, 2018.
      82.    The Settlement Fairness Hearing may be adjourned by the Court without further written notice to the Class.
    If you intend to attend the Settlement Fairness Hearing, you should confirm the date and time with Class Counsel.


                                QUESTIONS? Visit www.GreenMountainSecuritiesLitigation.com or
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      83.   Unless the Court orders otherwise, any Class Member who does not object in the manner described
    above will be deemed to have waived any objection and shall be forever foreclosed from making any objection to
    the proposed Settlement, the proposed Plan of Allocation, or Class Counsel's motion for an award of attorneys'
    fees and reimbursement of Litigation Expenses. Class Members do not need to appear at the Settlement
    Fairness Hearing or take any other action to indicate their approval.

                                 WHAT IF I BOUGHT SHARES ON SOMEONE ELSE'S BEHALF?

      84.    If you purchased or otherwise acquired Green Mountain common stock between February 2, 2011
    and November 9, 2011, inclusive, for the beneficial interest of persons or organizations other than yourself, you
    must either (i) within seven (7) calendar days of receipt of this Notice, request from the Claims Administrator
    sufficient copies of the Notice and Claim Form (the "Notice Packet") to forward to all such beneficial owners
    and within seven (7) calendar days of receipt of those Notice Packets forward them to all such beneficial owners;
    or (ii) within seven (7) calendar days of receipt of this Notice, provide a list of the names and addresses of all
    such beneficial owners to Green Mountain Securities Litigation, c/o Epiq Class Action & Claims Solutions, Inc.,
    P.O. Box 3076, Portland, OR 97208-3076. If you choose the second option, the Claims Administrator will send a
    copy of the Notice Packet to the beneficial owners. Upon full compliance with these directions, such nominees
    may seek reimbursement of their reasonable expenses actually incurred, by providing the Claims Administrator
    with proper documentation supporting the expenses for which reimbursement is sought. Copies of this Notice and
    the Claim Form may also be obtained from the Settlement website, www.GreenMountainSecuritiesLitigation.com,
    by calling the Claims Administrator toll-free at 1-888-836-0903, or by emailing the Claims Administrator at
    info@GreenMountainSecuritiesLitigation.com.

                        CAN I SEE THE COURT FILE? WHOM SHOULD I CONTACT IF I HAVE QUESTIONS?

      85.    This Notice contains only a summary of the terms of the proposed Settlement. For more detailed information
    about the matters involved in this Action, you are referred to the papers on file in the Action, including the Stipulation,
    which may be inspected during regular office hours at the Office of the Clerk, United States District Court for the
    District of Vermont, 11 Elmwood Avenue, Burlington, VT 05401. Additionally, copies of the Stipulation and any related
    orders entered by the Court will be posted on the Settlement website, www.GreenMountainSecuritiesLitigation.com.
                            All inquiries concerning this Notice and the Claim Form should be directed to:
                                                Green Mountain Securities Litigation
                                           c/o Epiq Class Action & Claims Solutions, Inc.
                                                           P.O. Box 3076
                                                     Portland, OR 97208-3076
                                                          1-888-836-0903
                                           info@GreenMountainSecuritiesLitigation.com
                                           www.GreenMountainSecuritiesLitigation.com
                                                                and/or

    Matthew L. Mustokoff, Esq.                  John C. Browne, Esq.                  Mark R. Rosen, Esq.
    Kessler Topaz Meltzer                       Bernstein Litowitz Berger             Barrack, Rodas & Bacine
     & Check, LLP                                & Grossmann LLP                      Two Commerce Square
    280 King of Prussia Road                    1251 Avenue of the Americas,          2001 Market Street, Ste. 3300
    Radnor, PA 19087                                   44th Floor                     Philadelphia, PA 19103
    1-610-667-7706                              New York, NY 10020                    1-215-963-0600
    info@ktmc.com                               1-800-380-8496                        mrosen@barrack.com
                                                blbg@blbglaw.com

                   DO NOT CALL OR WRITE THE COURT, THE OFFICE OF THE CLERK OF THE
                   COURT, DEFENDANTS OR THEIR COUNSEL REGARDING THIS NOTICE.

    Dated: August 3, 2018                                                                By Order of the Court
                                                                                         United States District Court
                                                                                         District of Vermont




                                QUESTIONS? Visit www.GreenMountainSecuritiesLitigation.com or
V18915 v06 07.17.2018                          Call Toll-Free 1-888-836-0903
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                                                           TABLE A
                                 90-Day Look-Back Period for Green Mountain Common Stock
                    (Closing Price and Average Closing Price - November 10, 2011 through February 7, 2012)

                                                 Average                                               Average
                                              Closing Price                                         Closing Price
                                                 Between                                              Between
                                              November 10,                                          November 10,
                                              2011 and Date                                         2011 and Date
              Date            Closing Price       Shown                 Date       Closing Price        Shown
           11/10/2011            $40.89           $40.89             12/23/2011       $45.41            $50.10
           11/11/2011            $43.71           $42.30             12/27/2011        $45.31           $49.95
           11/14/2011            $42.14           $42.25             12/28/2011        $45.16           $49.81
           11/15/2011            $47.61           $43.59             12/29/2011        $45.74           $49.69
           11/16/2011            $52.30           $45.33             12/30/2011        $44.85           $49.55
           11/17/2011            $51.69           $46.39              1/3/2012         $46.58           $49.47
           11/18/2011            $50.45           $46.97               1/4/2012        $45.34           $49.36
           11/21/2011            $52.91           $47.71               1/5/2012        $44.34           $49.22
           11/22/2011            $50.35           $48.01              1/6/2012         $43.17           $49.07
           11/23/2011            $50.13           $48.22               1/9/2012        $46.26           $49.00
           11/25/2011            $49.66           $48.35              1/10/2012        $47.99           $48.97
           11/28/2011            $50.99           $48.57              1/11/2012        $47.47           $48.94
           11/29/2011            $48.92           $48.60              1/12/2012        $47.24           $48.90
           11/30/2011            $52.43           $48.87              1/13/2012        $46.97           $48.85
            12/1/2011            $53.92           $49.21              1/17/2012        $50.87           $48.90
           12/2/2011             $56.32           $49.65              1/18/2012        $51.39           $48.95
            12/5/2011            $58.88           $50.19              1/19/2012        $52.17           $49.02
            12/6/2011            $56.98           $50.57              1/20/2012        $50.90           $49.06
            12/7/2011            $57.18           $50.92              1/23/2012        $48.45           $49.05
           12/8/2011             $56.04           $51.18              1/24/2012        $50.60           $49.08
           12/9/2011             $58.44           $51.52              1/25/2012        $51.05           $49.12
           12/12/2011            $56.49           $51.75              1/26/2012        $49.34           $49.12
           12/13/2011            $49.95           $51.67              1/27/2012        $52.50           $49.19
           12/14/2011            $47.72           $51.50              1/30/2012        $53.04           $49.26
           12/15/2011            $44.35           $51.22              1/31/2012        $53.34           $49.33
           12/16/2011            $45.26           $50.99              2/1/2012         $53.63           $49.41
           12/19/2011            $45.97           $50.80              2/2/2012         $66.42           $49.71
           12/20/2011            $45.69           $50.62              2/3/2012         $66.21           $49.99
           12/21/2011            $45.30           $50.44              2/6/2012         $69.02           $50.31
           12/22/2011            $45.08           $50.26              2/7/2012         $66.27           $50.58




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                                                   Green Mountain Securities Litigation
                                              c/o Epiq Class Action & Claims Solutions, Inc.
                                                              P.O. Box 3076
                                                        Portland, OR 97208-3076

                                                  Toll-Free Number: 1-888-836-0903
                                        Email: info@GreenMountainSecuritiesLitigation.com
                                        Website: www.GreenMountainSecuritiesLiti2ation.com


                                    PROOF OF CLAIM AND RELEASE FORM

      TO BE ELIGIBLE TO RECEIVE A SHARE OF THE NET SETTLEMENT FUND IN CONNECTION WITH THE
      PROPOSED SETTLEMENT, YOU MUST COMPLETE AND SIGN THIS PROOF OF CLAIM AND RELEASE
      FORM ("CLAIM FORM") AND MAIL IT BY PREPAID, FIRST-CLASS MAIL TO THE ABOVE ADDRESS,
      POSTMARKED NO LATER THAN DECEMBER 1, 2018.

      FAILURE TO SUBMIT YOUR CLAIM FORM BY THE DATE SPECIFIED WILL SUBJECT YOUR CLAIM
      TO REJECTION AND MAY PRECLUDE YOU FROM BEING ELIGIBLE TO RECOVER ANY MONEY IN
      CONNECTION WITH THE PROPOSED SETTLEMENT.

      DO NOT MAIL OR DELIVER YOUR CLAIM FORM TO THE COURT, THE PARTIES TO THIS ACTION,
      OR THEIR COUNSEL. SUBMIT YOUR CLAIM FORM ONLY TO THE CLAIMS ADMINISTRATOR AT
      THE ADDRESS SET FORTH ABOVE.

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      PART II - CLAIMANT IDENTIFICATION ........................................................................................................ 4
      PART III - SCHEDULE OF TRANSACTIONS IN GREEN MOUNTAIN COMMON STOCK ................... 5
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                                             PART I - GENERAL INSTRUCTIONS
                                                                                                                                  •
             1. . . _It is _i_mportant that you comp_l_~tely r~ad and understand the Notice of (i).J?endency of Class Action and
    Class Cert1f1cat10n; (n) Proposed Settlement; (m) Motion for an Award of Attorneys' Fees and Reimbursement of Litigation
    Expenses; and ~iv) Settleme~t Fairness _Hearin~, (the "Notice") t_hat,,accompanies this Claim Form, including the proposed
    Plan of Allocat10n set forth m the Notice (the Plan of Allocat!on ).. The Notice describes the proposed Settlement, how
    Class Members are affected by the Settlement, and the manner m which the Net Settlement Fund will be distributed if the
    Settlemen~ and Pl~n ~f Allocati?~ ~re app!oved by the Court. The Notice also contains the definitions of many of the defined
    terms _(which ar~ 11!d1cated by m1tial capital letters) used in this Claim Form. By signing and submitting this Claim Form,
    you will be cert1fymg that you have read and that you understand the Notice, including the terms of the releases described
    therein and provided for herein.

            2.       This Claim Form is directed to all persons or entities who purchased or otherwise acquired Green Mountain
    ~offe~ Roasters, Inc. ("qreen Mountain") common stock during the period between February 2, 2011 and November 9, 2011,
    mclus1ve (the "Class Penod"), and who were damaged thereby (the "Class"). Certain persons and entities are excluded from
    the Class by definition as set forth in Paragraph 24 of the Notice.

            3.      By submitting this Claim Form, you will be making a request to share in the proceeds of the Settlement
    described in the Notice. IF YOU ARE NOT A CLASS MEMBER (see the definition of the Class in Paragraph 24 of the
    Notice, which sets forth who is included in and who is excluded from the Class), OR IF YOU, OR SOMEONE ACTING
    ON YOUR BEHALF, SUBMITTED A REQUEST FOR EXCLUSION FROM THE CLASS, DO NOT SUBMIT A CLAIM
    FORM. YOU MAY NOT, DIRECTLY OR INDIRECTLY, PARTICIPATE IN THE SETTLEMENT. THUS, IF YOU
    ARE EXCLUDED FROM THE CLASS, ANY CLAIM FORM THAT YOU SUBMIT, OR THAT MAY BE SUBMITTED
    ON YOUR BEHALF, WILL NOT BE ACCEPTED.
           4.      Submission of this Claim Form does not guarantee that you will share in the proceeds of the Settlement.
    The distribution of the Net Settlement Fund will be governed by the Plan of Allocation set forth in the Notice, if it is
    approved by the Court, or by such other plan of allocation as the Court approves.
             5.       Use the Schedule of Transactions in Part III of this Claim Form to supply all required details of your
    transaction(s) (including free transfers and deliveries) in and holdings of Green Mountain common stock. On this schedule,
    please provide all of the requested information with respect to your holdings, purchases, acquisitions, and sales of Green
    Mountain common stock, whether such transactions resulted in a profit or a loss. Failure to report all transaction and
    holding information during the requested time period may result in the rejection of your claim.
              6.     Please note: Only Green Mountain common stock purchased or otherwise acquired during the Class Period
    (i.e., between February 2, 2011 and November 9, 2011, inclusive), is eligible under the Settlement. However, under the
    "90-day look-back period" (described in the Plan of Allocation set forth in the Notice), your sales of Green Mountain common
    stock during the period from November 10, 2011 through and including the close of trading on February 7, 2012 will be used
    for purposes of calculating loss amounts under the Plan of Allocation. Therefore, in order for the Claims Administrator to be
    able to balance your claim, the requested purchase information during the 90-day look-back period must also be provided.
    Failure to report all transaction and holding information during the requested time period may result in the rejection
    of your claim.
           7.       You are required to submit genuine and sufficient documentation for all of your transactions in and holdings
    of Green Mountain common stock set forth in the Schedule of Transactions in Part III of this Claim Form. Documentation
    may consist of copies of brokerage confirmation slips or monthly brokerage account statements, or an authorized statement
    from your broker containing the transactional and holding information found in a broker confirmation slip or account
    statement. The Parties and the Claims Administrator do not independently have information about your investments in
    Green Mountain common stock. IF SUCH DOCUMENTS ARE NOT IN YOUR POSSESSION, PLEASE OBTAIN
    COPIES OF THE DOCUMENTS OR EQUIVALENT DOCUMENTS FROM YOUR BROKER. FAILURE TO SUPPLY
    THIS DOCUMENTATION MAY RESULT IN THE REJECTION OF YOUR CLAIM. DO NOT SEND ORIGINAL
    DOCUMENTS. Please keep a copy of all documents that you send to the Claims Administrator. Also, do not highlight
    any portion of the Claim Form or any supporting documents.
             8.       All joint beneficial owners each must sign this Claim Form and their names must appear as "Claimants" in
    Part II of this Claim Form. The complete name(s) of the beneficial owner(s) must be entered. If you purchased or otherwise
    acquired Green Mountain common stock during the Class Period and held the shares in your name, you are the beneficial
    owner as well as the record owner. If you purchased or otherwise acquired Green Mountain common stock during the Class
    Period and the shares were registered in the name of a third party, such as a nominee or brokerage firm, you are the beneficial
    owner of these shares, but the third party is the record owner. The beneficial owner, not the record owner, must sign this
    Claim Form.




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                                                                                                                                       •
            9.       One Claim should be submitted for each separate lei:al entity. Separate Claim Forms should be submitted
    for each separate legal entity (e.g., a claim from joint owners should not include separate transactions of just one of the joint
    owners, and an individual should not combine his or her IRA transactions with transactions made solely in the individual's
    name). Conversely, a single Claim Form should be submitted on behalf of one legal entity including all transactions made
    by that entity on one Claim Form, no matter how many separate accounts that entity has (e.g., a corporation with multiple
    brokerage accounts should include all transactions made in all accounts on one Claim Form).
            10.     Agents, executors, administrators, guardians, and trustees must complete and sign the Claim For~ehalf
    of persons represented by them, and they must:
                             (a) expressly state the capacity in which they are acting;                                              .
                             (b) identify the name, account number, last four digits of the Social Security Number (or taxpayer
                                 identification number), address and telephone number of the beneficial owner of (or other person or
                                 entity on whose behalf they are acting with respect to) the Green Mountain common stock; and
                                                                                                                                             '·,,
                                                                                                                                 -~,           ~




                             (c) furnish herewith evidence of their authority to bind to the Claim Form the person or entity on whose-
                                 behalf they are acting. (Authority to complete and sign a Claim Form cannot be established by
                                 stockbrokers demonstrating only that they have discretionary authority to trade securities in another
                                 person's accounts.)
                1I.          By submitting a signed Claim Form, you will be swearing that you:
                             (a) own(ed) the Green Mountain common stock you have listed in the Claim Form; or
                             (b) are expressly authorized to act on behalf of the owner thereof.
             12.     By submitting a signed Claim Form, you will be swearing to the truth of the statements contained therein
    and the genuineness of the documents attached thereto, subject to penalties of perjury under the laws of the United States
    of America. The making of false statements, or the submission of forged or fraudulent documentation, will result in the
    rejection of your claim and may subject you to civil liability or criminal prosecution.
            13.      If the Court approves the Settlement, payments to eligible Authorized Claimants pursuant to the Plan of
    Allocation (or such other plan of allocation as the Court approves) will be made after any appeals are resolved, and after the
    completion of all claims processing. The claims process will take substantial time to complete fully and fairly. Please be patient.
             14.      PLEASE NOTE: As set forth in the Plan of Allocation, each Authorized Claimant shall receive his, her,
    or its pro rata share of the Net Settlement Fund. If the prorated payment to any Authorized Claimant calculates to less than
    $10.00, it will not be included in the calculation and no distribution will be made to that Authorized Claimant.
            15.   If you have questions concerning the Claim Form, or need additional copies of the Claim Form or the Notice,
    you may contact the Claims Administrator, Epiq Class Action & Claims Solutions, Inc., at the above address, by email at
    info@GreenMountainSecuritiesLitigation.com, or by toll-free phone at 1-888-836-0903, or you can visit the Settlement
    website, www.GreenMountainSecuritiesLitigation.com, where copies of the Claim Form and Notice are available for
    downloading.
             16.     NOTICE REGARDING ELECTRONIC FILES: Certain Claimants with large numbers of
    transactions may request, or may be requested, to submit information regarding their transactions in electronic
    files. To obtain the mandatory electronic filing requirements and file layout, you may visit the Settlement website at
    www.GreenMountainSecuritiesLitigation.com or you may email the Claims Administrator's electronic filing department
    at info@GreenMountainSecuritiesLitigation.com. Any file not in accordance with the required electronic filing format
    will be subject to rejection. Only one claim should be submitted for each separate legal entity (see Paragraph 9 above) and
    the complete name of the beneficial owner of the securities must be entered where called for (see Paragraph 8 above). No
    electronic files will be considered to have been properly submitted unless the Claims Administrator issues an email to that
    effect. Do not assume that your file has been received until you receive this email. If you do not receive such an email
    within 10 days of your submission, you should contact the Claims Administrator's electronic filing department at
    info@GreenMountainSecuritiesLitigation.com to inquire about your file and confirm it was received.
                                                          IMPORTANT: PLEASE NOTE
    YOUR CLAIM IS NOT DEEMED FILED UNTIL YOU RECEIVE AN ACKNOWLEDGEMENT POSTCARD.
    THE CLAIMS ADMINISTRATOR WILL ACKNOWLEDGE RECEIPT OF YOUR CLAIM FORM BY MAIL
    WITHIN 60 DAYS. IF YOU DO NOT RECEIVE AN ACKNOWLEDGEMENT POSTCARD WITHIN 60 DAYS,
    CALL THE CLAIMS ADMINISTRATOR TOLL FREE AT 1-888-836-0903.



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      •                                       PART II Document
                             Case 2:11-cv-00289-wks   - CLAIMANT
                                                               341IDENTIFICATION
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      Please complete this PART II in its entirety. Tlie Claims Administrator will use this information for all communications
                                                                                                                                                            •
      regarding this Claim Form. If this information changes, you MUST notify the Claims Administrator in writing at the
      address above.
      Beneficial Owner's First Name
      II     I     I    I     I   I  II   I   I      I   I   •MI       Beneficial Owner's Last Name
                                                                       lr--lr--lr--r--1-,-,-,-,-,-,-,-,-,-,-1-,-,-1-,., . . . ,1I
...
      Co-Beneficial Owner's First Name
      II     I     I    I     I   I  II   I   I      I   I
      Entity Name (if Beneficial Owner is not an individual)
                                                             •MI       Co-Beneficial Owner's Last Name
                                                                       .--I.--I.--I.--I.--I-,-,-,-,..--I..--I..--I..--I..--I..--I..--I..--I..--I. .-1-.---,II
      II     I     I    I     I   I  II   I   I      I   I    I    I   IIIIIIIIIIIIIIIIIIIII
      Representative or Custodian Name (if different from Beneficial Owner(s) listed above)

      II     I     I    I     I   I  II
      Address l (street name and number)
                                          I   I      I   I    I    I   IIIIIIIIIIIIIIIIIIIII
      II     I     I    I     I   I  II   I   I
      Address 2 (apartment, unit or box number)
                                                     I   I    I    I   IIIIIIIIIIIIIIIIIIIII
      ImyI   I     I    I     I  : I I
                                  I   I   1          I   I    I    I   IIIIIIIIIII
      Un,J         I    I     IIIIII                 I   I    I    I   I I I I I I I rnState IZipue           I I II II II-II 1             I I1 I1 I1
      IIIIIIIIIIIIIII                                                  IIIIIIIIIIIIIIIIIIIII
      Last four digits of Social Security Number or Taxpayer Identification Number

      IIIl I
      Telephone Number (home)                                                         Telephone Number (work)

      I I I 1-1 I I 1-1 I I I I                                                     I I I 1-1 I I 1-1 I I I I
      Email address (Email address is not required, but if you provide it you authorize the Claims Administrator to use it in providing you with
      information relevant to this claim.)

      IIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIII
      Account Number (where securities were traded)'

      IIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIIII
      Claimant Account Type (check appropriate box):
      D    Individual (includes joint owner accounts)                   D    Pension Plan                      D    Trust
      D    Corporation                                                  D    Estate
      0    IRA/401K                                                     D    Other _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (please specify)




      1 If the account number is unknown, you may leave blank. If filing for more than one account for the same legal entity you may write "multiple." Please see

      Paragraph 9 of the General Instructions above for more information on when to file separate Claim Forms for multiple accounts.


      •   04-CA7456
          V1904 v.06 07.17.2018                                                   4                                                                          •
•                      PART III - SCHEDULE
                             Case  2:11-cv-00289-wks DocumentIN341
                                             OF TRANSACTIONS       Filed
                                                                GREEN    09/10/18 COMMON
                                                                       MOUNTAIN   Page 24 ofSTOCK
                                                                                             24
Complete this Part III if and only if you purchased or acquired Green Mountain common stock during the period from February 2,
                                                                                                                                                         •
2011 through and including November 9, 2011. Please be sure to include proper documentation with your Claim Form as described
in detail in Part I - General Instructions, Paragraph 7, above. Do not include information regarding securities other than Green
Mountain common stock.

    1. HOLDINGS AS OF FEBRUARY 2, 2011- State the total number of shares of Green Mountain common stock held as of the opening of
    trading on February 2, 2011. (Must be documented.) If none, write "zero" or "0."

    I   I I I I I l I 1.DJ
    2. PURCHASES/ACQUISITIONS FROM FEBRUARY 2, 2011 THROUGH AND INCLUDING NOVEMBER 9, 2011 - Separately
    list each and every purchase/acquisition (including free receipts) of Green Mountain common stock from after the opening of trading on
    February 2, 2011 through and including the close of trading on November 9, 2011. (Must be documented.)
            Date of Purchase/
                Acquisition                                                           Purchase/                Total Purchase/Acquisition Price
          (List Chronologically)             Number of Shares                        Acquisition-                      (excluding taxes,
               (MMDDYY)                     Purchased/Acquired                     Price Per Share                   commissions, a_nd fees)

         III                      II        I      I    I        I        I    I   I        I.DJ            II I                            I.DJ
         III                      II        I      I    I        I        I    I   I        I.DJ            II I                            I.DJ
         I I I                    I I       I      I    I        I        I    I   I        I.DJ            II I                            I.DJ
         I I I                    I I       I      I    I        I        I    I   I        I.DJ            I I I                           I.DJ
    3. PURCHASES/ACQUISITIONS FROM NOVEMBER 10, 2011 THROUGH AND INCLUDING FEBRUARY 7, 2012 - State the                                                               ,   .
    total number of shares of Green Mountain common stock purchased/acquired (including free receipts) from after the opening of trading on
    November 10, 2011 through and including the close of trading on February 7, 2012. (Must be documented.) If none, write "zero" or "0."2

    I I I I I I I I I.DJ
    4. SALES FROM FEBRUARY 2, 2011 THROUGH AND INCLUDING FEBRUARY 7, 2012 - Separately list                                              IF NONE,
    each and every sale/disposition (including free deliveries) of Green Mountain common stock from after the opening                  CHECK HERE
    of trading on February 2, 2011 through and including the close of trading on February 7, 2012. (Must be documented.)                                         --   --.._,


                                                                                                                                               •
               Date of Sale
                   (List                                                                                                Total Sale Price
              Chronologically)                   Number of                             Sale Price                      (excluding taxes,
               (MMDDYY)                          Shares Sold                           Per Share                     commissions, and fees)

              I    l          I         I          I        I             I   I I I.DJ I                                      I I I I.DJ
              I    I          I         I          I        I             I   I I I.DJ I                                      I I I I.DJ
              I    I          I         I          I        I             I   I I I.DJ I                                      I I I I.DJ
              I    I          I         I          I        I             I   I I I.DJ I                                      I I I I.DJ
    5. HOLDINGS AS OF FEBRUARY 7, 2012 - State the total number of shares of Green Mountain common stock held as of the close of
    trading on February 7, 2012. (Must be documented.) If none, write "zero" or "0."

    I   I I I I I I I I.DJ
    IF YOU REQUIRE ADDITIONAL SPACE FOR THE SCHEDULE ABOVE, ATTACH EXTRA SCHEDULES IN THE SAME
    FORMAT. PRINT THE BENEFICIAL OWNER'S FULL NAME AND LAST FOUR DIGITS OF SOCIAL SECURITY/TAXPAYER

                                  •
    IDENTIFICATION NUMBER ON EACH ADDITIONAL PAGE. IF YOU DO ATTACH EXTRA SCHEDULES,
    CHECK THIS BOX




2
 Please note: Information requested with respect to your purchases/acquisitions of Green Mountain common stock from after the opening of trading on
November 10, 20! I through and including the close of trading on February 7, 2012 is needed in order to balance your claim; purchases/acquisitions during this

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        V1905v,0607_17,2018                                                   5                                                                          •
period, however, are not eligible transactions and will not be used for purposes of calculating Recognized Loss Amounts pursuant to the Plan of Allocation.
